Case 1:05-cv-01180-.]DT-STA Document 4 Filed 07/18/05 Page 1 of 3 Page|D 1
IN THE UNITED STATES DISTRICT COURT 651/z \ 0
FOR THE WESTERN DISTRICT OF TENNESSEE /<9/, 0

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MoRRIs PEPPER, JR., g "”@?9;/ /”"f
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Petitioner, §
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Vs. g NO. 05_1180-T/An
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ll
GLEN TURNER, q
ll
Respondent. §§

 

ORDER DENYING LEAVE TO PROCEED IN FOR]\M PA UPERIS
AND
ORDER DIRECTING PETITIONER TO PAY THE HABEAS FILING FEE

 

Petitioner Morris Pepper, Jr., Tennessee Department of Correction prisoner number
31568, an inmate at the Hardeman County Correctional Facility (“HCCF”) in Whiteville,
Tennessee, filed apetition for a Writ ofhabeas corpus pursuant to 28 U.S.C. § 2254 on July
], 2005, along With an application seeking leave to proceed informer pauperis. The Clerk
shall record the respondent as HCCF Warden Glen Turner.

Based on the information contained in the petitioner’s affidavit, and in his inmate
trust fund account statement, the motion to proceed in forma pauperis is DENIED.
Petitioner is ORDERED to remit the $5.00 habeas filing fee Within thirty days after the date

of entry of this order. F ailure to timely comply With any requirement of this order Will result

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in dismissal of the petition Without further notice for failure to prosecute.

IT IS SO ORDERED this f 25 pid/ray ofJuly, 2005.

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JAM D. TODD
UN ED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:05-CV-01180 Was distributed by faX, mail, or direct printing on
July 19, 2005 to the parties listed.

 

Morris Pepper

HCCF - Whiteville

3 l 568

PO Box 549
Whiteville, TN 38075

Honorable J ames Todd
US DISTRICT COURT

